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AO 442 (Rev. 11/11) Arrest Warrant



                                                                  UNITED STATES DISTRICT COURT
                                                                                      for the

                                                                               District of Columbia

                      United States of America
                                                        v.                               ) Case: 1:.2'3-mj-00080
                                   Tricia LaCount                                        ~ Assilgned To : Upadhya.ya, MoxHa A.
                                                                                         ) Assign. Date: 4/11/2023
                                                                                         ~ Description: Complaint Wl Arrest Warrant
                                              Defendant


                                                                              ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                     Tricia LaCount
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment   o Information o Superseding Information Jill Complaint
o Probation Violation Petition   o Supervised Release Violation Petition o Violation Notice 0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(l) - Entering and Remaining in a Restricted Building or Grounds;
  18 U.S.C. § 1752(a)(2) - Disorderly or Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
 40 U.S.C. § 5104( e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                                                Moxi la A.                 Digitally signed by Moxila A.
                                                                                                                           Upadhyaya
                                                                                                Upadhyaya                  ~~~~023.04.1110:23:13
Date: __       -"-04-,-,1-"-1.....,1/..."2,,,,,02,,,,3<--_
                                                                                                              Issuing officer's signature


City and state:                                              Washin on D.C.                     Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                                                Printed name and title


                                                                                      Return

           This warrant was received on (date)                            'ill/le!Oz 3     , and the person was arrested on (date)          1118'/?6 Z 3
at (city and state)  til fOfl ({/lrkltt7M~                    7


Date:   '7ill {art '3                                                                                        Arresting officer's signature



                                                                                                                Printed name and title
